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                             IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF COLUMBIA




UNITED STATES OF AMERICA                      )
                                              )
         v.                                   )      CRIMINAL NO. 23-MJ-000007(GMH)
                                              )
                                              )
MICAIAH JOSEPH                                )

                                     NOTICE OF APPEARANCE

         COMES NOW Kira Anne West and enters her appearance as counsel for Mr. Micaiah

Joseph pursuant to the CJA Act in the above captioned case.

                                              Respectfully submitted,

                                              KIRA ANNE WEST

                                      By:             /s/
                                              Kira Anne West
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                                     CERTIFICATE OF SERVICE

         I hereby certify on the 23rd day of January, 2023 a copy of same was delivered to the

parties of record, by email pursuant to the Covid standing order and the rules of the Clerk of

Court.

                                                        /S/
                                                     Kira Anne West
